Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 1 of 16 Page ID #:739



 1 Julie R. Trotter, Bar No. 209675
    jtrotter@calljensen.com
 2 Kent R. Christensen, Bar No. 253815
 3 kchristensen@calljensen.com
   Delavan J. Dickson, Bar No. 270865
 4 ddickson@calljensen.com
   CALL & JENSEN
 5 A Professional Corporation
 6 610 Newport Center Drive, Suite 700
   Newport Beach, CA 92660
 7 Tel: (949) 717-3000
   Fax: (949) 717-3100
 8
   Attorneys for Defendant 7-Eleven, Inc.
 9
10                                 UNITED STATES DISTRICT COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12
13 EDWARDO MUNOZ, individually and on                Case No. 2:18-cv-03893 RGK (AGR)
   behalf of all others similarly situated,
14                                                   DEFENDANT’S OPPOSITION TO
15               Plaintiff,                          PLAINTIFF’S MOTION FOR
                                                     SUMMARY JUDGMENT
16                     vs.
17 7-ELEVEN, INC., a Texas corporation,              Date: May 20, 2019
                                                     Time: 9:00 a.m.
18                     Defendant.                    Place: Courtroom 850
19                                                   Judge: Hon. R. Gary Klausner

20                                                   [Filed concurrently with Response to
                                                     Plaintiff’s Statement of Uncontroverted
21                                                   Facts and Request for Judicial Notice]
22
23
                                                     Complaint Filed:       May 9, 2018
24                                                   First Am. Comp. Filed: July 9, 2018
                                                     Trial Date:            July 2, 2019
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     SEV05-13:2465896_2:4-29-19
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 2 of 16 Page ID #:740



1                                                TABLE OF CONTENTS
2                                                                                                                             Page
3 I.          INTRODUCTION ..................................................................................................... 5
4 II.         FACTUAL BACKGROUND.................................................................................... 5
5 III.        PLAINTIFF’S MOTION SHOULD BE DENIED AND HIS
6             CASE DISMISSED BECAUSE HE LACKS STANDING...................................... 6
7             A.       Plaintiff Must Prove The Form’s Provisions He Contends
                       Violate 15 U.S.C. § 1681b(b)(2)(A)(i) Caused Him Actual
8                      Confusion For Standing................................................................................... 6
9             B.       Plaintiff Was Not Confused By The Form ...................................................... 8
10 IV.        THE DISCLOSURE FORM AT ISSUE DOES NOT VIOLATE
11            15 U.S.C. § 1681B(B)(2)(A)(I) ................................................................................. 9
12            A.       The Form Does Not Violate The Standalone Requirement ............................ 9
13            B.       The Form Does Not Violate The “Clear And Conspicuous”
                       Requirement .................................................................................................. 12
14
     V.       PLAINTIFF HAS NO EVIDENCE THAT 7-ELEVEN
15            WILLFULLY VIOLATED THE FCRA ................................................................. 13
16
     VI.      CONCLUSION ........................................................................................................ 16
17
18
19
20
21
22
23
24
25
26
27
28

     SEV05-13:2465896_2:4-29-19                      -2-
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 3 of 16 Page ID #:741



 1                                          TABLE OF AUTHORITIES
 2                                                                                                                  Page
 3
      Federal Cases
 4
 5 Baghdasarian v. Amazon.com, Inc.,
     2009 WL 4823368 (C.D. Cal. Dec. 9, 2009) ................................................................ 7
 6
   Dawson v. Wonderful Pistachios & Almonds, LLC,
 7   2018 WL 5263063 (C.D. Cal. April 27, 2018) ........................................................... 14
 8
   Dutta v. State Farm Mut. Auto. Ins. Co.,
 9   895 F.3d 1166 (9th Cir. 2018)................................................................................... 6, 7
10 Fox v. Good Samaritan L.P.,
     801 F. Supp. 2d 883 (N.D. Cal. 2010) ........................................................................ 12
11
12 Gilberg v. Cal. Check Cashing Stores, LLC,
     913 F.3d 1167 (9th Cir. 2019)................................................................... 11, 12, 15, 16
13
   Groshek v. Time Warner Cable, Inc.,
14   865 F.3d 884 (7th Cir. 2017)..................................................................................... 8, 9
15
   IV Solutions, Inc. v. Conn. Gen. Life Ins. Co.,
16   2015 WL 12843822 (C.D. Cal. Jan. 29, 2015) ........................................................... 12
17 Just v. Target Corp.,
     187 F. Supp. 3d 1064 (D. Minn. 2016) ................................................................. 14, 15
18
19 Mattson v. Home Depot, Inc.,
     2012 WL 2342948 (S.D. Cal. June 20, 2012)............................................................. 12
20
   Mitchell v. WinCo Foods, LLC,
21   743 Fed. Appx. 889 (9th Cir. Nov. 29, 2018) ........................................................... 8, 9
22
   Newton v. Bank of Am.,
23   2015 WL 10435907 (C.D. Cal. May 12, 2015) .................................................... 12, 14
24 Reed v. CRST Van Expedited, Inc.,
     2017 WL 5633153 (M.D. Fla. Nov. 20, 2017) .......................................................... 14
25
26 Ruiz v. Shamrock Foods Co.,
     2018 WL 5099509 (C.D. Cal. Aug. 22, 2018).......................................................... 7, 9
27
   Shaw v. Experian Info. Sols., Inc.,
28   891 F.3d 749 (9th Cir. 2018)................................................................................. 13, 14
      SEV05-13:2465896_2:4-29-19                      -3-
                    DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 4 of 16 Page ID #:742



 1                                       TABLE OF AUTHORITIES (con’t)
 2                                                                                                                         Page
 3
      Syed v. M-I, LLC,
 4      853 F.3d 492 (9th Cir. 2017)....................................................................................... 11
 5
   Walker v. Fred Meyer,
 6  2018 WL 2455915 (D. Or. May 7, 2018) ............................................................ passim
 7 Walker v. Realhome Servs. & Sols., Inc.,
 8  2019 WL 1225211 (N.D. Ga. Jan. 28, 2019) ............................................................ 8, 9

 9 Washington Envtl. Council v. Bellon,
     732 F.3d 1131 (9th Cir. 2013)............................................................................... 7, 8, 9
10
   Williams v. Nichols Demox, Inc.,
11   2018 WL 3046507 (N.D. Cal. June 20, 2018) .......................................................... 8, 9
12
   State Cases
13
   Culberson v. Walt Disney Parks and Resorts,
14   2019 WL 1594026 (Ct. App. April 15, 2019) ................................................ 10, 11, 15
15
   Federal Statutes
16
   15 U.S.C. § 1681b(b)(2)(A) ............................................................................................ 12
17 15 U.S.C. § 1681b(b)(2)(A)(i) ................................................................................. passim
   15 U.S.C. §§ 1681a(d)(1), 1681a(e) ............................................................................... 10
18
19 Other Authorities
20 Willner Opinion letter ..................................................................................................... 16
21
22
23
24
25
26
27
28

      SEV05-13:2465896_2:4-29-19                      -4-
                    DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 5 of 16 Page ID #:743



 1 I.         INTRODUCTION
 2            Plaintiff asks the Court to grant summary judgment and award statutory damages
 3 to the class for a willful violation of the Fair Credit Reporting Act (“FCRA”) based only
 4 on the text of a one-page background disclosure form (“Form”) he contends includes
 5 “extraneous information.” His motion should be denied for at least three reasons.
 6            First, Plaintiff has failed to establish standing under Article III because he has not
 7 provided any evidence that would show he suffered an injury in fact vis-à-vis the Form
 8 – let alone an injury in fact caused by 7-Eleven’s conduct. This is because although
 9 Plaintiff’s Amended Complaint falsely alleged Plaintiff was confused by the extraneous
10 information in the Form, at deposition Plaintiff admitted he only spent about thirty
11 seconds reviewing the Form and only read a few sentences from it prior to executing it,
12 and when he read the Form in full (which is just one page) he actually understood it.
13 Incredibly, Plaintiff’s motion skips this fundamental threshold question altogether.
14            Second, summary judgment cannot be granted in favor of Plaintiff because the
15 Form complies with the FCRA. Plaintiff relies heavily on two Ninth Circuit decisions
16 to claim otherwise, but neither establishes that 7-Eleven’s Form violated the stand-alone
17 requirement. In fact, neither of these decisions is even relevant to that inquiry given the
18 Form does not contain provisions Syed and Gilberg held violated the FCRA and neither
19 explains what the disclosure can include.
20            Lastly, Plaintiff has not put forward any evidence that 7-Eleven willfully violated
21 the FCRA with the Form. On the contrary, to the extent there is case law that addresses
22 the propriety of the provisions in the Form being challenged by Plaintiff, applying that
23 case law would result in a finding that the Form is compliant.
24            For these reasons, and as explained in more detail below, Plaintiff’s Motion must
25 be denied, and the case dismissed.
26 II.        FACTUAL BACKGROUND
27            During the application process, the manager of the 7-Eleven store where Plaintiff
28 applied informed Plaintiff that 7-Eleven would have to complete a background check on

     SEV05-13:2465896_2:4-29-19                      -5-
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 6 of 16 Page ID #:744



 1 him.1 (Def.’s Response to Plaintiff’s Statement of Uncontroverted Facts and Additional
 2 Uncontroverted Facts (“SGI”), ¶ 15.) Plaintiff agreed to this even though he understood
 3 it may mean he would not receive a position. (Id., ¶ 16.)
 4            One of the documents Plaintiff completed as part of the new hire paperwork was
 5 the Form, which he has attached to his complaints as an exhibit. (Id., ¶ 17.) Although
 6 Plaintiff does not allege that the Form failed to include any information required by the
 7 FCRA, he nevertheless contends it was confusing because it allegedly included
 8 extraneous information. (See id., ¶¶ 18-19.) At his deposition, Plaintiff admitted the
 9 following:
10      He understood the Form was authorizing an investigation into his background prior
11          to his executing it;
12      He only took approximately thirty seconds to review the Form before executing it;
13      He only read a few sentences of the Form and disregarded the rest prior to
14          executing it;
15      He did not ask the store manager – who was nearby while Plaintiff was completing
16          the new hire paperwork – or 7-Eleven’s HR any questions about the Form before
17          executing it; and
18      When Plaintiff actually read the Form in its entirety, he understood it.
19 (See id., ¶¶ 20-26.)
20 III.       PLAINTIFF’S MOTION SHOULD BE DENIED AND HIS CASE
21            DISMISSED BECAUSE HE LACKS STANDING
22            A.       Plaintiff Must Prove The Form’s Provisions He Contends Violate 15
23                     U.S.C. § 1681b(b)(2)(A)(i) Caused Him Actual Confusion For Standing
24            A plaintiff must establish Article III standing in order to pursue a claim in federal
25 court. See Dutta v. State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1172 (9th Cir.
26
   1 Plaintiff’s motion ignores numerous material facts that are critical to the issues raised
27 in this case, which 7-Eleven set forth in its own Motion for Summary Judgment. (See
   Dkt. No. 67-1.) Plaintiff’s failure to include or address these facts in his own Motion
28 should preclude judgment being granted in his favor by itself.

     SEV05-13:2465896_2:4-29-19                      -6-
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 7 of 16 Page ID #:745



 1 2018). To establish such standing, a plaintiff must prove: “(1) that he suffered an injury
 2 in fact, (2) that there is a causal connection between the injury and the conduct
 3 complained of, and (3) that it is likely, as opposed to merely speculative, that the injury
 4 will be redressed by a favorable decision.” See id. at 1173 (internal quotation marks
 5 omitted).
 6       The plaintiff also bears the burden of proof to establish standing with the
         manner and degree of evidence required at the successive stages of the
 7       litigation. While at the pleading stage, general factual allegations of injury
         resulting from the defendant’s conduct may suffice, in responding to a
 8       summary judgment motion, the plaintiff can no longer rest on such mere
 9       allegations, but must set forth by affidavit or other evidence specific facts,
         which for purposes of the summary judgment motion will be taken to be
10       true.
11 See Washington Envtl. Council v. Bellon, 732 F.3d 1131, 1139 (9th Cir. 2013); see also
12 Ruiz v. Shamrock Foods Co., 2018 WL 5099509, at *6 (C.D. Cal. Aug. 22, 2018)
13 (noting that “at the summary judgment stage, Plaintiffs must provide evidence
14 demonstrating standing”); Baghdasarian v. Amazon.com, Inc., 2009 WL 4823368, *3-
15 *6 (C.D. Cal. Dec. 9, 2009) (granting summary judgment to defendant on standing
16 grounds even though that court had previously held standing was adequately shown at
17 the class certification stage because burden of proof required for latter was more lenient
18 relative to showing required on summary judgment).
19            In cases premised on the allegation that a disclosure form violates 15 U.S.C. §
20 1681b(b)(2)(A)(i) because the disclosure improperly includes extraneous provisions in
21 violation of the statute, courts require that a plaintiff establish this allegedly extraneous
22 information caused them actual confusion in order to have Article III standing. See,
23 e.g., Ruiz, 2018 WL 5099509, at *5-*6 (finding lack of standing even when disclosures
24 at issue included provisions that unequivocally violated 15 U.S.C. § 1681b(b)(2)(A)(i)’s
25 requirements because one plaintiff “testified that there was no portion of the Martech
26 disclosure and authorization he signed that he did not understand”, the other two
27 plaintiffs “did not even review the disclosure language in the Credential Check form
28 before signing”, and because “not only did Plaintiffs lack any confusion about the

     SEV05-13:2465896_2:4-29-19                      -7-
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 8 of 16 Page ID #:746



 1 disclosure and authorization forms, Plaintiffs were fully aware that background checks
 2 were being procured”); Groshek v. Time Warner Cable, Inc., 865 F.3d 884, 887-89 (7th
 3 Cir. 2017); Mitchell v. WinCo Foods, LLC, 743 Fed. Appx. 889 (9th Cir. Nov. 29,
 4 2018) (unpublished); Williams v. Nichols Demox, Inc., 2018 WL 3046507, at *3-5
 5 (N.D. Cal. June 20, 2018); Walker v. Realhome Servs. & Sols., Inc., 2019 WL 1225211,
 6 at *6-7 (N.D. Ga. Jan. 28, 2019).
 7            B.       Plaintiff Was Not Confused By The Form
 8            Obviously recognizing confusion as the litmus test for standing, Plaintiff’s
 9 Amended Complaint alleges that “[t]he unnecessary inclusion of [ ] extraneous
10 information [in the Form] rendered the document confusing to Plaintiff[.]” (Dkt. No.
11 23, ¶ 17.) Although this allegation was enough to avoid a motion to dismiss challenge
12 on standing grounds, as explained above, allegations in a complaint are insufficient to
13 establish standing at the summary judgment stage. See Bellon, 732 F.3d at 1139.
14            As a review of Plaintiff’s own deposition testimony shows, he can no longer
15 contend he was confused by any allegedly extraneous information in the Form because
16 in that deposition he admitted:
17      He understood the Form was authorizing an investigation into his background prior
18          to his executing it;
19      He had no problem with 7-Eleven conducting a criminal background check even
20          prior to his executing the Form;
21      He only took approximately thirty seconds to review the Form before executing it;
22      He only read a few sentences of the Form, and disregarded the rest prior to
23          executing it;
24      He did not ask the store manager – who was nearby while Plaintiff was completing
25          the new hire paperwork – or 7-Eleven’s HR any questions about the Form before
26          executing it despite knowing he could and should if he had any questions; and
27      When Plaintiff actually read the Form in its entirety, he understood it.
28

     SEV05-13:2465896_2:4-29-19                      -8-
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 9 of 16 Page ID #:747



 1 (See Def.’s SGI, ¶¶ 20-26.)          Given these facts, Plaintiff was not “deprived of a
 2 meaningful opportunity to authorize the background check” – he just chose not to take
 3 it. Moreover, he cannot claim the Form caused him confusion when, by his own
 4 admission, he did not read it prior to executing it and, after he actually did read the one-
 5 page Form in full, he admitted he understood it. (See id.); see also Ruiz, 2018 WL
 6 5099509, at *6 (finding lack of standing even when disclosures at issue included
 7 liability waivers because one plaintiff “testified that there was no portion of the Martech
 8 disclosure and authorization he signed that he did not understand”, the other two
 9 plaintiffs “did not even review the disclosure language in the Credential Check form
10 before signing”, and because “not only did Plaintiffs lack any confusion about the
11 disclosure and authorization forms, Plaintiffs were fully aware that background checks
12 were being procured”); accord Groshek, 865 F.3d at 887-89; Mitchell, 743 Fed. Appx.
13 889 (unpublished); Williams, 2018 WL 3046507, at *3-5; Walker, 2019 WL 1225211,
14 at *6-7. As such, this Motion should be denied and the case dismissed given the record
15 does not support a finding that Plaintiff has Article III standing.
16 IV.        THE DISCLOSURE FORM AT ISSUE DOES NOT VIOLATE 15 U.S.C. §
17            1681B(B)(2)(A)(I)
18            Plaintiff’s claims are all premised on the contention that the Form violates 15
19 U.S.C. § 1681b(b)(2)(A)(i). Under that statute, before obtaining a background check on
20 a person, an employer must first provide the applicant with a written disclosure that is
21 both “clear and conspicuous” and “that consists solely of the disclosure itself.” See 15
22 U.S.C. § 1681b(b)(2)(A)(i). As explained below, Plaintiff’s motion fails to show the
23 Form violates either of these requirements.
24            A.       The Form Does Not Violate The Standalone Requirement
25            The requirement that a disclosure “consist[ ] solely of the disclosure” is
26 commonly referred to as the standalone requirement. See Walker v. Fred Meyer, 2018
27 WL 2455915, at *3 (D. Or. May 7, 2018). Pursuant to this requirement, a “written
28 disclosure may not ‘be encumbered with extraneous information.’” See id. (quoting

     SEV05-13:2465896_2:4-29-19                      -9-
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 10 of 16 Page ID #:748



 1 FTC           Advisory         Opinion   to   Coffey   (Feb.   11,   1998),    available    at
 2 https://www.ftc.gov/policy/advisory-opinions/advisory-opinion-coffey-02-11-98).
 3            Plaintiff’s Motion makes two arguments as to why the Form allegedly violates
 4 the standalone requirement. Neither withstands scrutiny.
 5            Plaintiff’s first and primary argument is that, according to Plaintiff, an employer
 6 cannot include the information that must be disclosed for “investigative consumer
 7 reports” and “consumer reports” that are not investigative within the same disclosure.
 8 (See Mot. at 4:13-8:7.) As an initial matter, Plaintiff’s Motion is misleading in its
 9 characterization of an “investigative consumer report” because it is not separate and
10 distinct from a “consumer report” under the FCRA. (See Mot. at 4:20-5:7.) Rather, it is
11 a sub-type of consumer report that is created at least in part by interviews. See 15
12 U.S.C. §§ 1681a(d)(1), 1681a(e). Moreover, Plaintiff’s Motion is also misleading in
13 claiming that 7-Eleven agrees its Form includes extraneous provisions as the dispute is
14 more accurately described as a dispute regarding what is and is not considered
15 extraneous under the standalone requirement.2 See, e.g., Culberson v. Walt Disney
16 Parks and Resorts, 2019 WL 1594026, at *4 (Ct. App. April 15, 2019) (noting although
17 it is true that 15 U.S.C. § 1681b(b)(2)(A)(i) includes a standalone requirement, “the
18 question remains what information may constitute the disclosure itself”) (unpublished).
19            Turning to the merits, 7-Eleven notes that the FTC has held the opinion since at
20 least 1999 that it is possible for a disclosure to include the information necessary for all
21 consumer reports – investigative or not – without violating the standalone requirement,
22 and a court in this Circuit just last year held that a disclosure analogous to the Form that
23 did this did not violate the standalone requirement. See Walker, 2018 WL 2455915, at
24 *5 (in holding form with analogous provisions did not violate Section 1681b(b)(2)(A)(i)
25 in dismissing FCRA claim, stating “the fact that Fred Meyer provided Walker with a
26 disclosure that discussed both consumer reports and investigative reports does not run
27
   2 In fact, it is difficult to imagine any disclosure meeting the standard Plaintiff
28 subjectively believes governs whether a disclosure meets the standalone requirement.

     SEV05-13:2465896_2:4-29-19                     - 10 -
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 11 of 16 Page ID #:749



 1 afoul of the FCRA” in citing to the Willner Opinion letter, available at
 2 https://www.ftc.gov/policy/advisory-opinions/advisory-opinion-willner-03-25-99);
 3 (Compare Def.’s Request for Judicial Notice (“RJN”), ¶ 1, Ex. A with Dkt. No. 23, Ex.
 4 A.) In the hopes of avoiding these authorities, Plaintiff relies on the Syed v. M-I, LLC,
 5 853 F.3d 492 (9th Cir. 2017) and Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d
 6 1167 (9th Cir. 2019) decisions. However, it is odd that Plaintiff has chosen to do so
 7 given (1) both of the disclosures in Syed and Gilberg also included the information
 8 necessary for all types of consumer reports – investigative or not; but (2) although both
 9 decisions found other provisions of the disclosures at issue violated the standalone
10 requirement, they conspicuously did not find or even address the propriety of including
11 the information necessary for all types of consumer reports in the same disclosure. See
12 Gilberg, 913 F.3d at 1172, 1174-76; Syed, 853 F.3d at 500-02, 508 (Appendix A).
13 Thus, given neither decision addressed the propriety of including such information
14 despite the disclosures at issue doing so, if anything, to the extent they can be
15 considered relevant precedent on this issue they actually weigh in 7-Eleven’s favor. In
16 addition, neither of these decisions went so far as to hold that FTC guidance that has
17 been on the books for twenty years now is wrong. Further, as the California Courts of
18 Appeal just recognized, although these decisions do hold there are no exceptions to the
19 standalone requirement, “the question remains what information may constitute the
20 disclosure itself” following them.              See Culberson, 2019 WL 1594026, at *4
21 (unpublished).             Therefore, for these reasons, Plaintiff placing his hopes on these
22 decisions was misplaced.
23            Plaintiff’s second argument on the standalone requirement is an attempt to equate
24 the sentence in the Form that “State statutory provisions may also provide additional
25 protections for consumer reports” with the numerous, detailed, and longwinded separate
26 state disclosures included in the disclosure in Gilberg. (See Mot. at 8:8-17; compare
27 Dkt. No. 23, Ex. A (sentence just before the Authorization)) with Gilberg, 913 F.3d at
28 1172-73. Given the significant differences between this one indisputedly accurate and

     SEV05-13:2465896_2:4-29-19                     - 11 -
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 12 of 16 Page ID #:750



 1 correct sentence in the Form, and the additional state law disclosures analyzed in
 2 Gilberg, this argument is disingenuous at best. In any event, this challenge is not even
 3 within the scope of this lawsuit given Plaintiff’s Amended Complaint does not allege
 4 this sentence violates the standalone requirement. (See Dkt. No. 23, ¶¶ 35-36); see also
 5 Fox v. Good Samaritan L.P., 801 F. Supp. 2d 883, 896 (N.D. Cal. 2010) (noting that
 6 “[w]hile a summary judgment motion does go beyond the pleadings in the sense that it
 7 tests the sufficiency of the evidence to support the allegations of the complaint, those
 8 allegations still serve to frame – and limit – the issues”); accord IV Solutions, Inc. v.
 9 Conn. Gen. Life Ins. Co., 2015 WL 12843822, at *12-*15 (C.D. Cal. Jan. 29, 2015);
10 Mattson v. Home Depot, Inc., 2012 WL 2342948, at *4 (S.D. Cal. June 20, 2012).
11            In sum, for the reasons stated above, Plaintiff’s Motion fails to show that the
12 Form violates the standalone requirement.
13            B.       The Form Does Not Violate The “Clear And Conspicuous”
14                     Requirement
15            A disclosure is “clear” under 15 U.S.C. § 1681b(b)(2)(A) if it is “reasonably
16 understandable”, and it is conspicuous under 15 U.S.C. § 1681b(b)(2)(A) if it is “readily
17 noticeable to the consumer.” See Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d
18 1169, 1176 (9th Cir. 2019).
19            Here, there can be no genuine dispute that the Form is reasonably understandable
20 – Plaintiff himself admitted as much during his deposition. (See Def.’s SGI, ¶ 26.)
21 Similarly, there can be no reasonable dispute that the Form is “readily noticeable to the
22 consumer” given it is in legible font, and sets forth the relevant headings in bolded,
23 large, typeface. (See Dkt. No. 23, Ex. A.) Therefore, the Form meets the “clear and
24 conspicuous” requirement of 15 U.S.C. § 1681b(b)(2)(A)(i). See, e.g., Newton v. Bank
25 of Am., 2015 WL 10435907, at *5-8 (C.D. Cal. May 12, 2015) (in granting summary
26 judgment in reviewing an analogous form, finding these requirements were met because
27 the form “use[d] language that a lay person would understand” and “[t]he amount of
28

     SEV05-13:2465896_2:4-29-19                     - 12 -
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 13 of 16 Page ID #:751



 1 text is minimal with headings in boldface, capital font using a larger typeface than the
 2 surrounding text”); (Compare Def.’s RJN, ¶ 2, Ex. B with Dkt. No. 23, Ex. A.)
 3            Plaintiff’s Motion does not contend otherwise as it does not include any actual
 4 analysis on this issue, and rather, at best, makes this issue derivative to his standalone
 5 requirement challenge. (See, generally, Mot. at 3:25-8:22, see id. at 4:4:6, 7:11-14,
 6 8:20-22 (only portions of motion where Plaintiff contends the Form is unclear, and as a
 7 review of each excerpt shows the basis of that claim is always premised on Plaintiff’s
 8 allegation that the Form violates the standalone requirement).) As such, Plaintiff’s
 9 Motion fails to show that the Form violates the “clear and conspicuous” requirement of
10 15 U.S.C. § 1681b(b)(2)(A)(i).
11 V.         PLAINTIFF HAS NO EVIDENCE THAT 7-ELEVEN WILLFULLY
12            VIOLATED THE FCRA
13            The only monetary relief Plaintiff seeks is statutory damages under the FCRA.
14 (See Dkt. No. 23, ¶ 40.) As the Ninth Circuit recently explained,
15       To recover statutory damages for a violation of the FCRA, Appellants must
         show that [the defendant] willfully failed to comply with the statute. A
16       willful violation of the FCRA occurs where a defendant knowingly or
         recklessly violated the FCRA. Recklessness is an objective standard. A
17       defendant acts in reckless disregard when its action both is a violation under
18       a reasonable reading of the statute’s terms and shows that the company ran a
         risk of violating the law substantially greater than the risk associated with a
19       reading that was merely careless.
20 See Shaw v. Experian Info. Sols., Inc., 891 F.3d 749, 760 (9th Cir. 2018) (internal
21 quotation marks and citations omitted)
22            Plaintiff once again relies primarily on Gilberg and Syed to contend 7-Eleven use
23 of the Form was a willful violation of the FCRA. (See Mot. at 8:23-12:4.) Once again,
24 that reliance is misplaced as those decisions do not support a finding that the Form
25 willfully violated the standalone requirement for the five reasons that follow.
26            First, as detailed in the above section, neither Gilberg nor Syed address the
27 propriety of the provisions in the Form Plaintiff contends violate the standalone
28 requirement. As such, they are irrelevant to this issue.

     SEV05-13:2465896_2:4-29-19                     - 13 -
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 14 of 16 Page ID #:752



 1            Second, there was no statute, regulatory guidance or case law that would have put
 2 7-Eleven on notice at the time Plaintiff executed the Form that the provisions in the
 3 Form Plaintiff claims are noncompliant. See id. In fact, other than the case law making
 4 clear the inclusion of a liability waiver in a disclosure violates 15 U.S.C. §
 5 1681b(b)(2)(A)(i)’s requirements – which the Form does not do – there is very little on-
 6 point judicial or administrative authorities that analyze that statute’s requirements as
 7 applied to the provisions in the Form being challenged. See Just v. Target Corp., 187 F.
 8 Supp. 3d 1064, 1067-70 (D. Minn. 2016) (declining to decide whether an analogous
 9 disclosure to the Form violated 15 U.S.C. § 1681b(b)(2)(A)(i)’s standalone requirement
10 because, even presuming if it did, the dearth of authority regarding its requirements
11 outside of liability waivers precluded a finding that a disclosure without such a waiver
12 could be considered a willful FCRA violation); (Compare Def.’s RJN, ¶ 4, Ex. D with
13 Dkt. No. 23, Ex. A.) In fact, to the extent there is case law addressing analogous
14 disclosures, those sources weigh in favor of finding that the Form is compliant. See,
15 e.g., Dawson v. Wonderful Pistachios & Almonds, LLC, 2018 WL 5263063, at *4-6
16 (C.D. Cal. April 27, 2018); Walker, 2018 WL 2455915, at *3-5; Reed, 2017 WL
17 5633153, at *3; Newton, 2015 WL 10435907, at *5-8; (Compare Def.’s RJN, ¶¶ 1-5,
18 Exs. A-E with Dkt. No. 23, Ex. A.) Therefore, even if the Form is found to violate 15
19 U.S.C. § 1681b(b)(2)(A)(i)’s technical requirements, the violation could not be
20 considered willful given, to the extent there are authorities that analyze analogous
21 forms, those authorities would favor holding that the Form complied with 15 U.S.C. §
22 1681b(b)(2)(A)(i). See id.
23            Third, Syed’s willfulness analysis is focused solely on the inclusion of a liability
24 waiver in a disclosure form – as Plaintiff’s Motion acknowledges. (See Motion at 9:17-
25 23.)        The Form does not have such a waiver, which further highlights Syed’s
26 inapplicability.
27            Fourth, Plaintiff improperly attempts to use Gilberg to write out of existence the
28 willfulness requirement by claiming it stands for the proposition that “any surplusage”

     SEV05-13:2465896_2:4-29-19                     - 14 -
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 15 of 16 Page ID #:753



 1 in violation of the standalone requirement will ipso facto be a willful violation. (See
 2 Mot. at 9:23-10:2.) The contention is based on a blatant misrepresentation of Gilberg,
 3 though, as that opinion does not even use the word willfulness – let alone analyze the
 4 issue. See Gilberg, 913 F.3d at 1174-78. Moreover, as the California Courts of Appeal
 5 just held in Culberson v. Walt Disney Parks and Resorts, 2019 WL 1594026, at *5-6
 6 (Cal. Ct. App. April 15, 2019) (unpublished), such a contention lacks merit. In fact,
 7 Culberson is particularly instructive as it involved a challenge to provisions in a
 8 disclosure form analogous to those Plaintiff makes against the Form, the plaintiffs there
 9 relied on Syed and Gilberg on willfulness too, and Culberson affirms a trial court’s
10 decision to grant summary judgment on a standalone requirement challenge. See id. at
11 *3-*6; (see also Def.’s RJN, ¶ 6, Ex. F.) For example, in Culberson, the Courts of
12 Appeal observed that the plaintiffs’ contentions regarding the alleged unambiguity of
13 the standalone requirement lacked merit because, although the statute does instruct that
14 a disclosure must consist solely of the disclosure, “the question remains what
15 information may constitute the disclosure itself.” See id. at *4; (see also Opp’n at 7:23-
16 8:16.) Culberson also found it telling that the plaintiffs there – like here – had failed to
17 cite to any decisions holding a disclosure form analogous to the one at issue did not
18 comply with 15 U.S.C. § 1681b(b)(2)(A)(i)’s requirements, and, like here, the
19 Culberson court noted that to the extent there were authorities that had analyzed
20 analogous forms they weighed in favor of the employer defendant. See id. at *4-*5
21 (citing to both Just v. Target Corp., 187 F. Supp. 3d 1064, 1067-70 (D. Minn. 2016)
22 and the Walker decision in support of this contention, as 7-Eleven did in its own motion
23 for summary judgment). Finally, Culberson also noted the inapplicability of both Syed
24 and Gilberg to the form at issue there. See id. at *5-*6. Specifically, it noted that
25 although those decisions make clear including a liability waiver or actual state law
26 disclosures in a disclosure violates the standalone requirement, “[n]either case
27 considered information similar to that in the Disney disclosure form [at issue there] or
28 opined on what information may constitute the FCRA disclosure itself.” See id. That is

    SEV05-13:2465896_2:4-29-19                     - 15 -
                  DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-03893-RGK-AGR Document 73 Filed 04/29/19 Page 16 of 16 Page ID #:754



 1 the case here as well with the Form. Thus, in sum, Plaintiff’s attempt to write-out of
 2 existence the willfulness requirement on a 15 U.S.C. § 1681b(b)(2)(A)(i) claim with
 3 Gilberg – i.e. a decision that does not even address the issue – lacks merit.
 4            Finally, Plaintiff’s reliance on the FTC Willner opinion is misplaced as that
 5 opinion explicitly states that it is possible to include information required for both non-
 6 investigative and investigative consumer reports in the same disclosure so long as the
 7 disclosure remains “very limited.”             See Willner Opinion letter, available at
 8 https://www.ftc.gov/policy/advisory-opinions/advisory-opinion-willner-03-25-99; (see
 9 also Oppn’ at 8:17-9:8.) 7-Eleven respectfully submits that given the Form is just one-
10 page long, it was not reckless to believe the Form was consistent with this opinion –
11 especially when the Walker decision, which Plaintiff all but admitted would require the
12 Form be found compliant if applied in his opposition to 7-Eleven’s summary judgment
13 motion, applied the Willner opinion to find an analogous form was compliant. Walker,
14 2018 WL 2455915, at *3-5; (see also Dkt. 70 at 6:12-20.)
15            In sum, for the reasons explained above, Plaintiff’s Motion fails to show as a
16 matter of law that 7-Eleven willfully violated the FCRA with the Form.
17 VI.        CONCLUSION
18            Plaintiff’s deposition testimony shows he lacks Article III standing, and, for the
19 reasons explained above, his Motion fails to show the Form violated the FCRA – let
20 alone that such a violation was willful. As such, his Motion should be denied, and this
21 case should be dismissed.
22
23 Dated: April 29, 2019                      CALL & JENSEN
                                              A Professional Corporation
24                                            Julie R. Trotter
                                              Kent R. Christensen
25                                            Delavan J. Dickson
26
                                              By: /s/ Julie R. Trotter
27                                                Julie R. Trotter
28                                            Attorneys for Defendant 7-Eleven, Inc.

     SEV05-13:2465896_2:4-29-19                     - 16 -
                   DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
